Case 2:05-cr-20056-SH|\/| Document 58 Filed 09/01/05 Page 1 of 2 Page|D 64

UNITED sTATEs DIsTRIcT coURT Fften sr m D o
wEsTERN DISTRICT 0F TENNESSEE ' ` '
Western Division 05 SEP -| PH 5: '5

  

    

*‘{>r§.'!é“cou
' ¢-`"`_ i'-.»'Fl":"tiPHiS m

-vs- Case No. 2:05cr20056-05Ma

UNITED STATES OF AMERICA

GERRY BUN'I`YN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
WEDNESDAY, SEPTEMBER 7, 2005 at 3:15 P.M. before United States Magistrate Judge Diane
K. Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing.

Date: September l, 2005 AO _ Z §
/f a/Vt.!, [ AW

' DIANE K. vEsCovo
UNITED sTATEs MAGISTRATE JUDGE

 

'lf not held immediately upon defendant‘s first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in l 8 U.S.C. § 3142(i) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial ofticer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BIB§) Order of Tempomry Detention

kets eetin com iiance F
This document entered on the doc éid/§_'Os’p

with Ftu|e 55 end/or 32(b) FFlCrF-‘ on __

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 15, 2005 to the parties listed.

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

